JJ cc (Kcv.o, I /)                                \-l v lLDocument
                          Case 2:22-cv-03146-EEF-KWR       \-\-, v I!r{.1-2        I 09/02/22
                                                                         Drl.r-llFiled                                                                                    Page 1 of 1
l'lre .lS 44 civil cuver shcet and the infornration containcd hercin neilher reolacc nor suDDlcnrcnt the lllins and service ol' pleadings or other                                              uired       las. crcc pt as
proridcdhr local rulesol court. Thislbrrn.approvcdhvthc.ludicial Ct-rrt'erenceol thdl-lnitcdStatesinSeptcnrber lgT4                                                                             lc
irrrrposcrrl'iniriatingthccivil docketshccr. ,ii,t, l,t'sllti'r'i7(lNSr)NA'i:.\'/ t'.1(;tt()t:ilil.\t()ltl.t.)
I. (a) PLAINTIFFS                                                                                                              I)EITE,NI)ANI'S
            CIIAItt-t:S WALI-ACE                                                                                               T,OUISIANA STATE


                                                                                                                                                                   SECT. I- [t|AG.&
    (b) County ol Residence of First Listed Plaintilf                                                                          Countl'of Residence of First Listed Def-endant
                                     (li.\T:l;l'1' IN ( t.s. l)l.,4lN'l lltl; ('ASlts)                                                                ilN U.S. Pt.AtNl iltt; (:ASl;S ONt.v)
                                                                                                                               NO't t.                   IN LAND CONDEMNATION CASES. USE THE LOCA'I-|ON OF
                                                                                                                                                         THE TRACT OIT LAND INVOLVED.

    (c)     Attorneys (l:trD Nanrc, ,lcltlrc.ss, antl'l'altphuta Numbe 11                                                       Attornc)'s /ll Knou nl




IL BASIS OF JURISDICTION 0'taca an '.\"' in onc uor ontt')                                                    III. CITIZENSHIP OF PRINCIPAL PARTIES(t'to,,nu".Y'mone Borlitt't'tutnrill.
                                                                                                                           (lttr l)nvr.vtt: ('o.tet Onlv)pTF                                cnil Otta Btt.r lir Da./;,rr,r,,r,/rr.
n I      Li.S (loverrrrnenl               ["1 Federal Question                                                                                                 DE!-
            l'laintit'f                            (( J S (irn'arnuanl ,"lot u l)drt.t.)                            Citizenofl'hisState !l                     tr t IncorporatedorPrincipal Place tr,1                      t]4
                                                                                                                                                                         ofBusiness In This State

E 2 U.s. Govenrnrenr                      l-'14 Divcrsirv                                                           CitizenolAnolherstale DZ                    tr 2 lncorporatedaru/PrincipalPlace tr S !S
            Dclendant                               (lndiLqle ( ttt:ulltip o/ l)ortrc: rn ltam Ill.1                                                                      of Business ln Another Slale

                                                                                                                    CitizenorSubjectofa trl                     tr t ForeignNation                               tr O D6

lV. NATURE OF SUIT (t'luce cn '.\"'rtt ortc uox
              ]oNTNACT                                                     T()R'rS                                     FoR ITEIl'I ]IIIi/PIiNA I,TY              IIANKIII IPTCY                   ()'n ilaR s'rA1'l ;'rl'.s
tr I l0 lnsurance                              PERSONAL INJUR}'                       PERSONT\L INJIJRY             fl 625 Dnrg Related Seizure          E 422 Appeal 28 USC I 58          [ 375 False Clairr:s Acr
D 120 Marine                              fl    3 lo Airylane                    !    365 Personal ln.jury -                  ol'Propenv 2l USC 881      E 423 Withdrawal                  E 376 Qui Tarn (31 USC
tr I30 Miller Act                         D     315 Airplane Product                      Product Liability         I oeo orher                                  28 USC I 57                         3729 (a))
! 40 Negotiable lnstrurnent
    I                                                Liability                   E 367 Health Care/                                                                                        [ 400 State Reapportionn]ent
tr I50 Recoven ol'Ovemavment              E     320 Assaulr. Libel &                         Phannaceutical                                                 PRr)trt'.R'l Y RtrlII rs       fl 4 l0 Anritrusl
          & Flnfbrcernent ol'.ludgrnent             Slander                                  Personal lnjrrry                                            fl 820 Copyrights                 E 430 Banks and Banking
D l5l Medicare Acl                        !     330 Federal Ernployers'                      Product Liability                                           D 830 Patent                      [ 450 Cornrnerce
                                                                                                                                                            8-35 Patent Abbreviated New
! 52 Recoreri, of Def'anlted
    1                                                 Li abil ity                !       36tl Asbestos Personal                                          -LJ^uruS Appllcailorl             fl 460 Deportation
          Studcnt Loans                    fl .140 Marine                                     Injury Product                                             E 840 Tradenrark                  E 470 Racketeer Influenced and
          (Excludes Veterans)              D 345 Marine Producr                               l-iabi I i tv                                                SOCIi\L SIICtIRITY                        Corrrpt Organizations
!   I 53 Recover- of OverDavnrenl                  Liabil itv                        PERSONAL PROPER'I\                7   l0 [.air Labor Standards      !tt6l IIIA(tr95fl)                ! 480 Consurner Crcdit
        of Veteran s Benefits              D 350 Motor Vehiclc                   ! 370 Other Frarrd                           Acl                        E n6l Black [.ung (923)           E 490 Cable,'Sal l'v
fl  160 Srockholders' Suirs                n 355 Moror Vehicle                   E 37 I Tnrlh in Lending             D 720 Labor/'Managenlenl            E s6l DlwC/Dlww (405(s))          E 850 SecuriticsrCornrnodities.
fl l90 olher Conrracr                                Product Liability           f] 180 Other Personal                        Relations                  ! s6.l SSID TitIC XVI                       Ixclrange
E 195 Contract Product Liability           E 360 orher Personal                               Propeny Darnage        ! 740 Raihvay l.abor Act            E sos nst 1ao:1gy;                ! 890 Othcr Slatutory Aclions
E 196 Franchise                                      lnjury                      !       -185 Propeny Darnage        E75l Family and Medical                                               E 891 Agricultural Acts
                                           fl 362 Personal Injury -                           Product Liability               Leave Act                                                    ! 893 EnvrLonmental Matters
                                                     Medical Malpractice                                             ! 7e0 Other Labor Litigation                                          ! 895 Freedonr of lnfonnalion
            EAL PROPERTY                          CIVII., III(;II'TS                 PRISONER PEI'I1'IONS            D 79 I Ernplovee Retirement            FEDERAI,'TAX SL]ITS                      Acl
    Il0 Land Condcrnnation                 !    440 Other Civil Rights                 Habeas Corpus:                        Income Security Act         U 870 Taxes (U.S. PlaintitT       fl 896 Arbirration
[ 220 lroreclosure                         l-'l 441 votinu                       fl    463 Alien Detainee                                                        or Det'cndant)            ! 899 Adrninistrative Procedure
E 130 ltent I-easc & Ejectrnenl            E    442 Ernployrnent                 !     510 Morions to vacate                                             ! 8z t lRs-t'hird earry                   Act/Review or Appeal o1'
E 1.10 I'or1s to t.and                     E    443 flousing/                                Sentence                                                            26 USC 7609                       Agency Decision
!:l:      tort Product t-iability                   Accomrnodations              E 530 General                                                                                             E   950 Constilullonalit], ol'
E 290 All Orher Real Property              !    445 Arner. w/Disabilities        ! 515 Dcarh Penalry                          Ii\I1!IIGRATION                                                        Slale Statutes
                                                    Ernployrnent                         Other:                      D 462 Natilralization Application
                                           E    446 Amer. rv/Disabilities        E 540 Mandarnus & Orher             D 065 Other lrnrnigration
                                                    Other                        ! sso civil nigtrrs                          Actions
                                           E    448 Educarion                    D 555 Prison Condition
                                                                                 E 560 Civil Delainee -
                                                                                             Conditions of
                                                                                             Conlinement

                        ll)lqca trn '.\" in Onc Bo.r Onl.t)
                                              fronr
X I orieinal Ll 2 Removed from Ll 3 Remanded Court                                                             LIA Reinstated or LJ 5 Translerred Fronr ll (r Multidistrict
    Proicediug Stare Court          Appellate                                                                      Reopened                    ,t.u'",        Litigation
                                                                                                                                      tlffi,
                                               CitethcU.S.Civil Statutcundcru'hichlouare liling (Donotcittinrixlictioilalstututcsiltilessdiversi6'1
VI. CAUSE OF
                                               Brief description ol cause:
ACTION
                                               C'lic:k here t0 entcr l*xt
vil. REQUESTED lN                                  CIIECIK IF l'lllS IS A (11.,\SS /\(lTI()\                            l)[.\t,\\t) s                               CllllCK YES onlf il'dertanded in conrplaint
     COMPLAINT:                                     UNDEII RUt.E 23. [r.R.Cv.P                                                                                      JITRY DIiIMAND:               EYes           E Nn
VIII. RELATED CASE(S) (Saa
                           mrtn(tiut.\):
      IF ANY                                                                     .I1-,lDGE                                                                     DOCKE'I NUMBER

 DATIr                                                                               SIGNATURE OF AI'I'ORNEY OF RECORD


 t.'oR oFIrtcE USE ONt,l',

    RITCEII']l-rr                     AMOUNT                                               APPI-YING IFP                                     JUDGI:                               MAG. JUDGE
